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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA              :     Hon. Sharon A. King

      V.                              :     Mag. No. 21-17048

YOANDRY RODRIGUEZ                     :     ORDER FOR A CONTINUANCE

      This matter having come before the Court on the joint application of Rachael A.

Honig, Acting United States Attorney for the District of New Jersey (by Molly S.

Lorber, Assistant United States Attorney), and defendant Yoandry Rodriguez (by

Robert C. Wolf, Esq.), for an order granting a continuance of the proceedings in the

above-captioned matter from the date this Order is signed through and including

November 17, 2021 to permit defense counsel the reasonable time necessary for

effective preparation in this matter and to allow the parties to conduct plea

negotiations; and the defendant being aware that the defendant has the right to have

the matter submitted to a grand jury within 30 days of the date of the defendant’s

arrest pursuant to Title 18, United States Code, Section 3 16 1(b); and one prior

continuance having been entered; and the defendant, through the defendant’s

attorney, having consented to the continuance; and for good and sufficient cause

shown,

      IT IS THE FINDING OF THIS COURT that this action should be continued for

the following reasons:

      (1) Plea negotiations are currently in progress, and both the United States and

the defendant seek additional time to achieve successful resolution of those
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negotiations, which would render trial of this matter unnecessary, and to allow

consideration by the court of a proposed plea agreement entered into by the

defendant and the United States;

      ( 2)   The defendant has consented to the aforementioned continuance;

      t 3)   The grant of a continuance will likely conserve judicial resources; and

      (4) Pursuant to Title 18, United States Code, Section 3161(h)(7), the ends of

justice served by granting the continuance outweigh the best interests of the public

and the defendant in a speedy trial.

      WHEREFORE, it is on this             day of October, 2021;

      ORDERED that this action be, and it hereby is, continued from the date this

Order is signed through and including November 17, 202 1; and it is further

      ORDERED that the period from the date this Order is signed through and

including November 17, 202 1 shall be excludable in computing time under the

Speedy Trial Act of 1974.

                                             SL               .



                                         HONORABLE SHARON A. KING
                                         United States Magistrate Judge

Form and entry consented to:


 6QAttt%
Robert C. Wolf, Esq.
Counsel for Defendant Yoandry Rodriguez



Molly S. Lorber
Assistant U.S. Attorney

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